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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

   UNITED STATES OF AMERICA,

                     Plaintiff,
                                                    Case No. 21-20720
   v.
                                                    Hon. Denise Page Hood
   BRETT DAUPHINAIS,

                     Defendant.
                                              /

        ORDER GRANTING MOTION TO SUPPRESS EVIDENCE
            and SETTING STATUS CONFERENCE DATE

   I.    BACKGROUND

         This matter is before the Court on Defendant Brett Dauphinais’s

   Motion to Suppress Evidence based on lack of probable cause when the

   search warrant was issued. The Government responds there was probable

   cause to issue the search warrant and, even if there was no probable cause,

   the good faith exception applies and the evidence seized should not be

   suppressed.

         On November 12, 2021, a search warrant for a residence on W.

   Cambourne Street, Ferndale, Michigan was approved and issued by a

   magistrate judge. Items to be seized included, among others: controlled

   substances and/or listed chemicals; records documenting acquisition,
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   manufacture, purchase, sale or distribution of controlled substances;

   equipment used to manufacture controlled substances, including tableting

   machines, encapsulating machines, mixers, granulators, scales, flasks, heat

   sealers, pill counters, burners, other laboratory equipment, and pill binders,

   such as Firmapress, or microcrystalline cellulose that become part of the

   finished controlled substance product. The search warrant was executed on

   November 16, 2021 and evidence seized, including the pill tableting,

   controlled substances, firearms and drug paraphernalia.

         An Indictment against Dauphinais was filed on November 30, 2021

   (ECF No. 1), superseded on February 8, 2022 (ECF No. 3) alleging:

   Possession    with   Intent   to   Distribute    a   Controlled    Substance

   (Psilocyn/Psilocybin), 28 U.S.C. § 841(a)(1) (Count One); Possession with

   Intent to Distribute a Controlled Substance (Marijuana), 28 U.S.C. §

   841(a)(1) (Count Two); Unlawful Possession of a Tableting Machine to

   Manufacture Controlled Substance, 21 U.S.C. § 843(a)(6) (Count Three);

   Possession of a Firearm in Furtherance of a Controlled Substance

   Distribution Offense, 18 U.S.C. § 924(c) (Count Four); and, Maintaining a

   Drug Controlled Premises, 21 U.S.C. § 856 (Count Five), and Forfeiture

   Allegations. (ECF No. 3, Superseding Indictment)




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         The Sealed Affidavit submitted by the Affiant and sworn to on

   November 11, 2021 before the Magistrate Judge sought a search warrant for

   the Cambourne Street, Ferndale address. Affiant has been a DEA Special

   Agent since January 2018, a licensed attorney since 2009, and received

   specialized training in narcotics investigations and identification, as well as

   the laws of search and seizure. The Affiant has been involved in electronic

   surveillance, debriefing of defendants, witnesses and informants, and

   obtained knowledge of the distribution and transportation of controlled

   substances.   The Affiant has obtained information involving unlawful

   possession and distribution of legally manufactured chemicals, controlled

   substances, and equipment, including tableting machines.

         The Affiant asserts that on November 2, 2021, investigators received

   notification from the DEA Diversion Control Import/Export Section of a

   suspicious transaction related to a tableting machine shipped to an address in

   Michigan. Such a machine is a regulated machine. Title 21, Code of

   Federal Regulations, §1310.05(b)(2). The tableting machine was listed as a

   Model TDP 5 Desktop Tablet Press, sold by and shipped from LFA

   MACHINES DFW LLC (LFA), Fort Worth, Texas. The tableting machine

   is powered by an electric motor capable of producing up to 4,800 tablets per




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   hour and is able to press tablets of any shape. The listed retail price is

   $2,599.00.

         Records from LFA shows that Dauphinais was listed as the intended

   recipient of the tableting machine at 1226 E. Sixth Street, Royal Oak, MI

   48067, according to the Affiant. This address was flagged because it is a

   residential address, rather than a business address. Affiant asserts that in

   their experience, it is unusual for a private individual to purchase a tableting

   machine. Investigators received all information from LFA, based on an

   administrative subpoena, relating to any machine made by Dauphinais and

   the Royal Oak address, including shipment tracking information, customer

   contact information. LFA records showed that Dauphinais ordered the TPD

   5 tableting machine on October 20, 2021. A Due Diligence Form, required

   to purchase a tableting table, listed that Dauphinais intended to use the press

   “for R&D with sugar tablets and different superfood tablets such as ex. Bee

   Pollen, Reishi, monk fruit and goji berry tablets.” LFA records indicated that

   Dauphinais also ordered 1 kg of baby blue Firmapress (a binding agent in

   making pills), one TDP punch die-modified ball 5-6 mm, one kg of Firmaoil

   and two kg of Sucrose, DC. Affiant stated that it is unusual for a person

   intending to use the tableting press to create “superfood” with an artificial




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   blue coloring rather than natural/organic color. The baby blue Firmapress

   utilizes food grade coloring agent.

         Affiant stated that oxycodone is sold and consumed in a baby blue

   round shaped tablet and that a tableting machine is required to manufacture

   these tablets. Affiant further stated that an average oxycodone 30 mg tablet

   weighs about 100 mgs, and, based on the Firmapress purchased by

   Dauphinais, about 10,000 counterfeit oxycodone 30 mg tablets could be

   manufactured. The Affiant indicated that an average oxycodone 30 mg

   tablet is approximately 6 mm in size, which is the same size of die that

   Dauphinais purchased from LFA. The Affiant stated that based on training

   and experience, manufacturing counterfeit pills is extremely profitable for

   drug dealers.

         Investigators surveilled the Royal Oak address on November 8, 9 and

   10, 2021. On November 10, 2021, at approximately 11:30 a.m., a FedEx

   freight truck pulled up to the residence. Dauphinais and another individual

   were in another vehicle near the driveway of the one car detached garage.

   Dauphinais met with the FedEx driver and signed for the package. The

   package in a crate was unloaded by the FedEx driver, who thereafter left.

   Dauphinais and the other individual removed the packaging, backed the

   vehicle to the package, opened the rear hatch of the vehicle and lifted the



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   package into hatch are of the vehicle. The vehicle, with Dauphinais and the

   other individual, left the area and directly drove to the Cambourne Street

   address in Ferndale, the Target Location on the search warrant. The Affiant

   indicated that based on prior investigations involving illegal counterfeit

   pharmaceutical production, individuals would purchase a machine to be

   delivered to one address, and then moved to another address, obscuring the

   true location of the equipment from law enforcement and is inconsistent with

   someone with a legitimate and legal purpose for the purchase.

         Dauphinais and the other individual thereafter left the Cambourne

   Street residence and went to another residence on Woodland Street,

   Ferndale, MI.    They left that residence carrying a heavy, large, black

   rectangle box or tabletop, loading it into the trunk of the vehicle they drove

   in and returned to the Cambourne Street residence in Ferndale.

         Affiant stated that based on recent investigations involving suspicious

   orders of tableting machines, illegal pill-press operations were discovered.

   Affiant submitted that there was probable cause to believe that Dauphinais

   purchased and intended to use the tableting machine at the Cambourne Street

   in Ferndale, the Target Location, for potential illegal production of

   controlled substances for further distribution.




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   II.   ANALYSIS

         Dauphinais argues that the affidavit supporting the search warrant is

   defective in that there are no facts establishing a nexus between the premises

   to be searched and the crimes alleged in the search warrant. The only

   probable cause he argues is based on his status as a purchaser of a tablet

   making machine. Dauphinais moves to suppress the evidence seized based

   on the search warrant. The Government opposes the motion, asserting that

   the affidavit supports the search warrant issued and that the good faith

   exception applies, even if there is no probable cause to issue the warrant.

         Generally, the Fourth Amendment requires officers to obtain a

   warrant prior to conducting a search. United States v. Smith, 510 F.3d 641,

   647 (6th Cir. 2007). “A warrant will be upheld if the affidavit provides a

   ‘substantial basis’ for the issuing magistrate to believe ‘there is a fair

   probability that contraband or evidence of a crime will be found in a

   particular place.’” Id. at 652 (quoting Illinois v. Gates, 462 U.S. 213, 238

   (1983)).   The probable cause standard is a “practical, non-technical

   conception” that leads with the “factual and practical considerations of

   everyday life.”   United States v. Frazier, 423 F.3d 526, 531 (6th Cir.

   2005)(quoting Gates,      42 U.S. at 231).       “Courts should review the

   sufficiency of the affidavit in a commonsense, rather than hypertechnical



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   manner.” United States v. Greene, 250 F.3d 471, 479 (6th Cir. 2001).

   “[R]eview of an affidavit and search warrant should rely on a ‘totality of the

   circumstances’ determination, rather than a line-by-line scrutiny.” Id.       A

   magistrate judge’s determination of probable cause should be paid great

   deference by a reviewing court. United States v. Allen, 211 F.3d 970, 973

   (6th Cir. 2000)(en banc). A court’s review of the sufficiency of the evidence

   supporting probable cause is limited to the information presented in the four-

   corners of the affidavit and the court cannot consider any other testimony.

   Frazier, 423 F.3d at 531. “To justify a search, the circumstances must

   indicate why evidence of illegal activity will be found ‘in a particular place.’

   There must, in other words, be a ‘nexus between the place to be searched

   and the evidence sought.’” United States v. Carpenter, 360 F.3d 591, 594

   (6th Cir. 2004).

         If an affidavit is found to be defective, the Supreme Court has held

   that the exclusionary rule be modified, “so as not to bar the admission of

   evidence seized in reasonable, good-faith reliance on a search warrant that is

   subsequently held to be defective.” United States v. Leon, 468 U.S. 897, 905

   (1984). Searches pursuant to a warrant will rarely require any deep inquiry

   into reasonableness, for a warrant issued by a magistrate normally suffices to

   establish that a law enforcement officer acted in good faith in conducting the



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   search. Id. at 922. The good faith inquiry is to be made objectively and the

   following exceptions to the good faith inquiry may be considered: 1) the

   supporting affidavit contained knowing or reckless falsity; 2) the issuing

   magistrate wholly abandoned his or her judicial role; 3) the affidavit is so

   lacking in probable cause to render official belief in its existence entirely

   unreasonable; or 4) the officer’s reliance on the warrant was neither in good

   faith nor objectively reasonable. Id. at 923.

          The Court looks at the four-corners of the affidavit in determining

   whether probable cause existed to issue the search warrant. Here, there is no

   dispute that the tablet making press was purchased by Dauphinais, who was

   observed taking the delivery at the Royal Oak address, then moving the

   package to the Cambourne Street, Ferndale address, the Target Location in

   the search warrant. The affidavit stated that the Affiant had experience that

   purchasing a tablet making press by an individual, delivered to a residence,

   is unusual. The Affiant further stated that moving such an item from the

   delivery address, to another location, is used to hide the real location from

   law enforcement and also is inconsistent from a legitimate use at a delivery

   location. The Affiant also had experience that the other items purchased by

   Dauphinais, along with the tablet making press, were used to manufacture

   counterfeit pills.



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         The Sixth Circuit Court of Appeals has stated that an “officer’s

   ‘training and experience’ may be considered in determining probable cause”

   United States v. Martin, 920 F.2d 393, 399 (6th Cir. 1990); United States v.

   Schultz, 14 F.3d 1093, 1097-98 (6th Cir. 1994). However, it cannot be a

   substitute for the lack of evidentiary nexus that criminal activity occurred in

   a place to be searched. Schultz, 14 F.3d at 1097. In this case, the Affiant

   had sufficient training and experience that a tablet making press and other

   items are used to make counterfeit controlled substances pills. Even with this

   experience and that the tablet making press was moved and other items were

   moved to the Target Address, there are no facts showing that illegal pill

   making was in fact taking place at this address. There are no observations

   that pills were made and taken out of the Target Address for distribution.

   The Court finds that there was no probable cause for a search warrant at the

   Target Address in Ferndale, Michigan since, other than the tablet making

   press being moved to this location, there is insufficient nexus between the

   Target Address and evidence of illegal pill making.

         Applying the good faith inquiry under Leon, the Court finds that the

   evidence must be suppressed. Dauphinais has not shown that the supporting

   affidavit contained knowing or reckless falsity. All the statements in the

   affidavit appear to be true. Dauphinais has not shown that the issuing



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   magistrate judge wholly abandoned his or her judicial role.          No such

   allegations has been shown. There is also nothing shown by Dauphinais that

   the law enforcement officers executing the warrant did not rely on the

   warrant in good faith.

         However, the Court finds the affidavit was so lacking in probable

   cause to render official belief in its existence entirely unreasonable. The

   affidavit set forth the use of table making press, that it was unusual for such

   to be delivered to a residential address, and that along with the other items

   purchased, those are all used to manufacture counterfeit pills. Dauphinais

   was observed taking the delivery of the table making press from one address,

   and then moved to a different location. The statement by the Affiant that

   this is done to evade law enforcement suspicions may be true in the Affiant’s

   experience. Other than this belief, the affidavit does not identify any other

   activity in and out of the Ferndale address indicating that an illegal pill

   making operation occurred at that address. There is no evidence that

   individuals were in and out of the Ferndale address excessively or

   suspiciously. There is also no evidence that other suspicious items and

   packages were delivered to the Ferndale address or brought from a different

   address to the Ferndale address. Moving one object from one location to




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   another does not support a finding of probable cause that an illegal drug

   business was being run at the Ferndale address.

          Because all of the Leon good faith exception factors have not been

   met, the evidence found at the Ferndale address as a result of the search

   warrant execution must be suppressed.

   III.   CONCLUSION/ORDER

          For the reasons set forth above,

          IT IS ORDERED that the Motion to Suppress Evidence (ECF No. 12)

   is GRANTED.

          IT IS FURTHER that a Status Conference is set for December 8,

   2022, 11:00 a.m.



                                               s/Denise Page Hood
                                               DENISE PAGE HOOD
                                               United States District Judge
   DATED: November 18, 2022




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